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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LIONEL ANTONIO CRUZ CORTES, et al.        *
                                          *
      PLAINTIFFS,                         *
                                          *
v.                                        *     Case No.: 1:18-cv-00500-CRC
                                          *
SAIGON KITCHEN, INC., et al.              *
                                          *
      DEFENDANTS.                         *
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                                   ORDER

        The Court having reviewed Defendants’ Offer of Judgment and the Parties’ Notice of

Acceptance thereof, on this ____ day of June, 2018, hereby enters an Order of Judgment as

follows:

        1.     ORDERED that Judgment is entered in favor of Lionel Antonio Cruz, Sr. and

against Saigon Kitchen, Inc., Lan Vu, and Phong Tran, jointly and severally, in the total gross

amount of $12,490.51 in satisfaction of all Lionel Antonio Cruz, Sr.’s claims in the Complaint,

exclusive of attorney fees and costs; and it is further

        2.     ORDERED that Judgment is entered in favor of Lionel Antonio Cruz Cortez and

against Saigon Kitchen, Inc., Lan Vu, and Phong Tran, jointly and severally, in the total gross

amount of $5,509.49 in satisfaction of all Lionel Antonio Cruz, Sr.’s claims in the Complaint,

exclusive of attorney fees and costs; and it is further

        3.     ORDERED that Plaintiffs shall file their Petition for Fees and Costs by July 6,

2018.


                                                          ___________________________________
                                                          Judge, United States District Court
                                                          For the District of Columbia
